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                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

STEPHEN McCOLLUM, and SANDRA                §
McCOLLUM, individually, and STEPHANIE       §
KINGREY, individually and as independent    §
administrator of the Estate of LARRY GENE   §
McCOLLUM,                                   §
                     PLAINTIFFS             §
                                            §
v.                                          §   CIVIL ACTION NO.
                                            §   4:14-cv-3253
BRAD LIVINGSTON, JEFF PRINGLE,              §   JURY DEMAND
RICHARD    CLARK,    KAREN   TATE,          §
SANDREA SANDERS, ROBERT EASON, the          §
UNIVERSITY    OF   TEXAS   MEDICAL          §
BRANCH and the TEXAS DEPARTMENT OF          §
CRIMINAL JUSTICE.                           §
                 DEFENDANTS                 §

       PLAINTIFFS’ RESPONSE TO TDCJ’S MOTION TO DESIGNATE DEAN
                       RIEGER AS A LATE EXPERT &
      PLAINTIFFS’ MOTION TO STRIKE LATE EXPERT DESIGNATIONS OF
     LANNETTE LINTHICUM, PHYLLIS MCWHORTER, ROBERT WILLIAMS,
               DEAN RIEGER, AND JOHN NIELSEN-GAMMON


                             Exhibit 3
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